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                                   STATEMENT OF FACTS

        I,            , am a Special Agent with the Federal Burear of Investigation (FBI), assigned
to the Dallas Field Office North Texas Joint Terrorism Task Force. In my duties as a Special Agent,
I am responsible for conducting investigations into various threats, including racially motivated
violent extremism, weapons of mass destruction violations, and violent anti-government
extremism. These investigations have involved the use of physical surveillance, cooperating
witnesses, the execution of search and arrest warrants, and the debriefing of witnesses and subjects.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a FBI Special Agent I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice




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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

          Facts Specific to Aron Sanchez, Sergio Jaramillo, and Sebastian Reveles

        I have studied video footage and still photographs of the January 6, 2021, incursion of the
U.S. Capitol, and I have identified three individuals in them as Aron Joel Sanchez (SANCHEZ),
Sergio Herrera Jaramillo (JARAMILLO), and Sebastian Reveles (REVELES) for the reasons
described herin. As also described herein, the images and video footage that I have reviewed, as
well as the other facts gathered in this investigation, establish that SANCHEZ, JARAMILLO, and
REVELES unlawfully entered the U.S. Capitol on January 6, 2021.

       FBI Special Agents and Task Force Officers interviewed SANCHEZ on February 9, 2021,
JARAMILLO on February 10, 2021, and REVELES on February 24, 2021. Each admitted that
they entered the Capitol building on January 6, 2021, and identified themselves in surveillance
video.

       At approximately 12:56 p.m., SANCHEZ, JARAMILLO, and REVELES crossed a fallen
section of snow fencing on west front of the U.S. Capitol building, immediately adjacent to an
“Area Closed” sign. This moment was captured on a video taken by REVELES:




   (Image 1: Cropped screenshot of REVELES cellphone video at approximately 12:27 p.m.)


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         USCP closed circuit video depicts SANCHEZ, JARAMILLO, and REVELES entering the
first floor of the Capitol through a broken window next to the Senate Wing Doors on the west side
of the building at approximately 2:24 p.m.:




    (Image 2: SANCHEZ entering Capitol through broken window at approximately 2:24 p.m.) 1




    (Image 3: JARAMILLO entering Capitol through broken window at approximately 2:24 p.m.)
1
 In this image and following images, SANCHEZ is depicted with yellow rectangles, JARAMILLO with green
ovals, and REVELES with red arrows.


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                                                         Zia M.
                                                         Faruqui
